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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO

 UNITED STATES OF AMERICA,
                                                      DESIGNATION OF RECORD
        Plaintiff-Appellee,
 v.                                               Dist. Court No. 1:17-CR-00168-CMA-1
                                                       Court of Appeals No. 18-1217
 KAREN LYNN MCCLAFLIN,

        Defendant-Appellant.

NOTE: THIS DESIGNATION FORM MUST BE COMPLETED AND FILED IN
ACCORDANCE WITH THE INSTRUCTIONS ON THE REVERSE SIDE OF
THE FORM.

        Those original papers which have been designated by circling their respective
docket numbers (or dates of entry) on the attached copy of the district court’s docket
sheets should be included in the record on appeal prepared by the clerk of the district
court and transmitted to the clerk of the court of appeals. (If the district court clerk so
elects, original papers may be retained in the district court and copies thereof may be
included in the record on appeal.)
        The following items should also be included in the record on appeal. (Portions of
transcripts should be designated by hearing dates and page numbers.)

       1.     Transcript:     06/21/2017 (Docket No. 10)

       2.     Transcript:     05/10/2018 (Docket No. 39)
                              Transcript already prepared (Docket 47)


                                              /s/ Ann Marie Taliaferro
                                              ____________________________________
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                                              Attorney for Appellant
                                              Brown, Bradshaw & Moffat, L.L.P.
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                                              Telephone: (801) 532-5297
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                                CERTIFICATE OF SERVICE

         I hereby certify that this document was electronically filed on June 28, 2018, with
the Clerk of the Court by using the ECF system, which will send a copy to all ECF system
participants as of the time of the filing. I further certify that all required privacy
redactions have been made; that the ECF submission is an exact copy of the hard copy
filed, if required; and that the ECF submission was scanned for viruses with the most
recent version of Symentac, which is continuously updated, and, according to the
program, the document is free of viruses.


                                              /s/
                                                    Kristin H. Jerman


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